97 F.3d 1446
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerry Ross BRAZELL, Plaintiff--Appellant,v.Flora BOYD, Warden, Evans Correctional Institution;  ParkerEvatt, Commissioner for South Carolina Departmentof Corrections, Defendants--Appellees.
    No. 95-7702.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 20, 1996Decided Sept. 30, 1996
    
      Jerry Ross Brazell, Appellant Pro Se.  E. Meredith Manning, ROBINSON, MCFADDEN &amp; MOORE, P.C., Columbia, South Carolina, for Appellees.
      Before NIEMEYER, HAMILTON, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Brazell v. Boyd, No. CA-93-2969-4-2BD (D.S.C. Oct. 2, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    